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UNITED STATES DEPARTMENT OF JUSTICE
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
____________________________________
                                        :
In re:                                  :   Chapter 11
                                        :
Alexandre Dacosta and                   :   Case No. 22-18303(JKS)
Viviane Antunes, et al.2,               :   (Jointly Administered)
                                        :
Debtors.                                :   Hearing Date: Sept. 26, 2023 at 10:00 AM
___________________________________ :
                                            ORAL ARGUMENT REQUESTED

           MEMORANDUM OF LAW IN SUPPORT OF MOTION OF
              THE UNITED STATES TRUSTEE FOR AN ORDER
     CONVERTING THE CASE OF BAV AUTO, LLC TO CHAPTER 7 OR, IN THE
      ALTERNATIVE, DISMISSING THE CASE PURSUANT 11 U.S.C. § 1112(b)

        THE UNITED STATES TRUSTEE (“U.S. Trustee”), by and through counsel, in

furtherance of his duties and responsibilities, hereby respectfully moves for an Order Converting

the Case of BAV Auto, LLC to Chapter 7 or, in the Alternative, Dismissing the Case Pursuant to

11 U.S.C. §1112 (b) (the “Motion”) and for such other and further relief as this Court deems just

and appropriate.

        1.       Under 28 U.S.C. § 586(a)(8), the U.S. Trustee has a duty to “apply promptly” to

this Court after finding material grounds for seeking relief under 11 U.S.C. § 1112. This duty is


2
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
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part of the U.S. Trustee’s overarching responsibility to enforce the laws as written by Congress

and interpreted by the courts. See United States Trustee v. Columbia Gas Sys., Inc. (In re

Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has

“public interest standing” under 11 U.S.C. § 307 which goes beyond mere pecuniary interest);

Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990)

(describing the U.S. Trustee as a “watchdog”).

                                        BACKGROUND

       2.      On October 6, 2022, (the “Corporate Petition Date”), BAV Auto LLC (the

“Corporate Debtor”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code under case number 22-17933(JKS) (the “Corporate Case”). See ECF No. 1 of the

Corporate Case. To date, the Corporate Debtor remains in possession of its property and

management of its affairs as a debtor-in-possession.

       3.      October 19, 2022, (the “Individuals Petition Date”), Alexandre J. Dacosta and

Vivianne C. Antunes (the “Individual Debtors”) (the Corporate Debtor and the Individual

Debtors collectively referred to herein as the “Related Debtors”) filed a voluntary petition for

relief under Chapter 13 of the Bankruptcy Code under case number 22-18303(JKS) (the

“Individuals Case”). See ECF No. 1 of the Individuals Case. On December 20, 2022, the Court

entered an Order which converted the Individuals Case to a chapter 11 proceeding, and further

recognized the Individual Debtors choosing to proceed under subchapter V of the Bankruptcy

Code. See ECF No. 40 of the Individuals Case.

       4.      On February 13, 2023, the Court entered the Order Directing Joint

Administration of Chapter 11 Cases of BAV Auto, LLC and Alexandre Dacosta & Vivianne

Antunes (the “Joint Administration Order”). See ECF No. 81 of the Individuals Case.
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       5.      On April 3, 2023, the Related Debtors filed the Jointly Administered Small

Business Debtors’ Second Modified Joint Plan of Reorganization (the “Second Modifed Plan”).

Plan. See ECF No. 105 of the Individuals Case.

       6.      A review of the docket of the Individual Case, as of this date, indicates that (i) on

February 24, 2023 the Corporate Debtor filed monthly operating reports for the months October

2022, November 2022, and December 2022 (the “October BAV MOR”, “November BAV

MOR”, and “December BAV MOR”, respectively) (ECF Nos. 84, 85, and 86, respectively), and

(ii) on March 2, 2023 the Corporate Debtor filed a monthly operating report for the month of

January 2023 (the “January BAV MOR”) (ECF No. 88 of the Individuals Case), and that (iii) the

Corporate Debtor has not filed any monthly operating report for the months of February 2023

through July 2023 (inclusive).

       7.      We further note that a review of the docket of the Corporate Case, as of this date,

indicates that the Corporate Debtor has not filed any monthly operating report on the Corporate

Case docket since the inception of its case.

                                           ARGUMENT

       8.      11 U.S.C. § 1112(b)(1) provides:

               Except as provided in paragraph (2) and subsection (c), on request
               of a party in interest, and after notice and a hearing, the court shall
               convert a case under this chapter to a case under chapter 7 or
               dismiss a case under this chapter, whichever is in the best interests
               of creditors and the estate, for cause unless the court determines
               that the appointment under section 1104(a) of a trustee or an
               examiner is in the best interests of creditors and the estate.

       9.      “Cause” is defined in 11 U.S.C. § 1112(b)(4) as including –

               (A) substantial or continuing loss to or diminution of the estate and
               the absence of a reasonable likelihood of rehabilitation;

               (B) gross mismanagement of the estate;
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               (C) failure to maintain appropriate insurance that poses a risk to
               the estate or to the public;

               (D) unauthorized use of cash collateral substantially harmful to 1
               or more creditors;
               (E) failure to comply with an order of the court;

               (F) unexcused failure to satisfy timely any filing or reporting
               requirement established by this title or by any rule applicable to a
               case under this chapter;

               (G) failure to attend the meeting of creditors convened under
               section 341(a) or an examination ordered under rule 2004 of the
               Federal Rules of Bankruptcy Procedure without good cause shown
               by the debtor;

               (H) failure timely to provide information or attend meetings
               reasonably requested by the United States Trustee (or the
               bankruptcy administrator, if any);

               (I) failure timely to pay taxes owed after the date of the order for
               relief or to file tax returns due after the date of the order for relief;

               (J) failure to file a disclosure statement, or to file or confirm a plan
               within the time fixed by this title or by order of the court;

               (K) failure to pay any fees or charges required under chapter 123
               of title 28;

               (L) revocation of an order of confirmation under section 1144;

               (M) inability to effectuate substantial consummation of a
               confirmed plan;

               (N) material default by the debtor with respect to a confirmed plan;

               (O) termination of a confirmed plan by reason of the occurrence of
               a specific condition in the plan; and

               (P) failure of the debtor to pay domestic support obligation that
               first becomes payable after the date of the filing of the petition.

       10.     It is well settled that the list of factors constituting “cause” are not exhaustive.

The legislative history for the statute provides in part, “[t]he court will be able to consider other
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factors, and to use its equitable powers to reach an appropriate result in individual cases.” H.

Rep. 595, 95th Cong., 1st Sess. 406 (1977). See, In re Pittsfield Weaving Company, 393 B.R.

271, 274 (Bankr. D.N.H. 2008) (Section 1112(b)(4) provides a non-exhaustive list of “causes”

for conversion or dismissal).

Deficiency in Timely Filing Monthly Operating Reports:

       11.     Pursuant to 11 U.S.C. §§ 704(a)(7) and (8), made applicable in Chapter 11 cases

by 11 U.S.C. §§ 1106(a)(1) and 1107 (a) and Fed. R. Bankr. P. 2015, a debtor is required to

supply certain reports concerning the estate’s administration and the operation of the debtor’s

post-petition business as prescribed by the United States Trustee Operating Guidelines and

Reporting Requirements for Chapter 11 cases, which were distributed to the Corporate Debtor at

the inception of the case.

       12.     The reporting requirements mandate that (a) prior to confirmation, the debtor file

monthly operating reports within 20-30 days following the end of each month and (b) after

confirmation, that the debtor file quarterly reports within thirty days following the end of each

calendar quarter.

       13.     The Corporate Debtor has failed to comply with the United States Trustee

Operating Guidelines and Reporting Requirements for Chapter 11 cases. A review of the docket

in this case indicates that, as of the filing of this Motion, the Corporate Debtor has not filed any

monthly operating report since the since the period January 2020; with that, Monthly Operating

Reports for the months February 2023 through July 2023 (inclusive) remain past due. The

Corporate Debtor’s failure to timely file monthly operating reports hinders the Court’s, the U.S.

Trustee’s, and the creditors’ ability to monitor the operations of the Corporate Debtor. For

example, in the absence of reports, it is impossible to determine whether the Corporate Debtor is
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current with post-petition obligations, has paid the correct quarterly fees to the United States

Trustee Program, or has the ability to confirm a plan of reorganization.

       14.     The Corporate Debtor has failed to timely file monthly operating reports. The

unexcused failure to satisfy timely any filing or reporting requirement is cause to convert or

dismiss the case pursuant to 11 U.S.C. § 1112(b)(4)(F). Accordingly, relief is warranted under

11 U.S.C. § 1112(b)(1).

Continuing Diminution of the Estate:

       15.     Although the Corporate Debtor’s financial reporting is significantly delinquent, as

outlined above, what is last reported by the Corporate Debtor indicates continuing diminution of

the Estate. The January BAV MOR shows cash on hand, at the end of that month, to be $96.93.

See, January BAV MOR, question 23. The Second Modified Plan states that the Corporate

Debtor has had “no business operations since the petition date of October 6, 2022.” Second

Modified Plan, pgs. 8-9. In sum, the Corporate Debtor has reported little to no cash, and has not

operated since the Corporate Petition Date.

       16.     As the pendency of this proceeding continues, attendant chapter 11 administrative

costs continue to accrue. After more than ten months under chapter 11 protection, the Corporate

Debtor stands with no operations, is not reporting income, while the costs of this chapter 11 case

continue to accrue. With that, on all accounts, it appears that there is a substantial or continuing

loss to or diminution of the estate, as well as an absence of a reasonable likelihood of

rehabilitation. Such circumstances constitute cause for conversion or dismissal of the Corporate

Case pursuant to 11 U.S.C. § 1112(b)(4)(A). Accordingly, relief is warranted under 11 U.S.C. §

1112(b)(1).
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Gross Mismanagement of the Estate:

       17.     As outlined above, the Corporate Debtor has not operated since the filing of its

case, and is reporting no income. As outlined in the Second Modified Plan, the Corporate

Debtor entered chapter 11 in crisis; “[a] review of the [Corporate Debtor’s] vehicle sale history

showed that approximately 65 vehicles were sold “out of trust” and New Jersey Division of

Motor Vehicle Commission suspended and thereafter revoked [the Corporate Debtor’s] dealer

license on or around October 28, 2022.” Second Modified Plan, pg. 8. The Second Modified

Plan states that the game-plan for the Corporate Debtor is to “surrender the vehicles and other

property of BAF on or before the Effective Date.” Second Modified Plan, pg. 3.

       18.     The Plan is presented as a “joint” plan, in that it serves as the proposed plan for

both the Corporate Debtor and the Individual Debtors. See, Plan pg. 3. As of the filing of this

Motion, the Second Modified Plan is pending a confirmation hearing on September 12, 2023.

However, proceeding toward a confirmation hearing has appeared to be challenging, as the

docket indicates a number of plans filed and a number of adjournments as well.

       19.     It is not clear where, at present, are the Corporate Debtor’s vehicles, how they are

stored, or who is in possession of them. As the protracted nature of the pending confirmation

hearing has frustrated these cases, the Corporate Debtor estate remains exposed to liability and/or

risk of loss with regard to its vehicle inventory. The Second Modified Plan calls for the

surrender of the vehicles, however, in the meantime the Corporate Debtor appears to be without

the ability to appropriate preserve such vehicles. As a debtor-in-possession with a fiduciary duty

to the entirety of its bankruptcy estate, allowing such circumstances to persist establishes gross

mismanagement of the estate, and constitutes cause to convert this case to chapter 7, or
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alternatively dismiss the case, pursuant to 11 U.S.C. § 1112(b)(4)(B). Accordingly, relief is

warranted under Section 1112(b)(1).

                                         CONCLUSION

       20.     The U.S. Trustee submits that, based on a review of the record in this case, there

is clear cause for either conversion to chapter 7 or dismissal of the Corporate Debtor’s case. The

U.S. Trustee respectfully submits that conversion should be considered with respect to what

would be in the best interest of creditors; conversion would result in the appointment of an

independent trustee who would liquidate any assets and investigate whether there are any

avoidance causes of action which might lead to a distribution to creditors.

       WHEREFORE, for the foregoing reasons, the U.S. Trustee respectfully requests that this

Court enter an Order Converting the Corporate Debtor Case or an Order Dismissing the Cases,

and such other and further relief that is deemed just and equitable.

                                                      Respectfully submitted,

                                                      ANDREW R. VARA
                                                      UNITED STATES TRUSTEE
                                                      REGIONS 3 AND 9

                                                      /s/ Peter J. D’Auria
                                                      Peter J. D’Auria
                                                      Trial Attorney
DATED: August 25, 2023
